UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

AT GREENEVILLE

UNITED STATES OF AMERICA )

) No. 2:19-CR-96
v. )

) JUDGE GREER
LAUREN KATE SMITH )
)

PLEA AGREEMENT

The United States of America, by the United States Attorney for the Eastern District of
Tennessee, and the defendant, LAUREN KATE SMITH, and the defendant’s attorney, Scott Saidak,
have agreed upon the following:

l. The defendant will plead guilty to the following count in the indictment:

a) Count One: Conspiracy to distribute fifty (50) grams or more of
methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II controlled substance in
violation of 21 U.S.C. §§ 846, 841(a)(1), (b)(1)(A).

The punishment for this offense is as follows: a minimum mandatory imprisonment of 10
years to life, a maximum fine of $10,000,000, a minimum of five years to life on supervised release,
and a $100 mandatory assessment fee.

2. In consideration of the defendant’s guilty plea, the United States agrees to move the
Court at the time of sentencing to dismiss the remaining counts against the defendant in this
indictment.

3. The defendant has read the indictment, discussed the charges and possible defenses
with defense counsel, and understands the crimes charged.

4, In support of the defendant’s guilty plea, the defendant agrees and stipulates to the

following facts, which satisfy the offense elements. These are the facts submitted for purposes of

1

Case 2:19-cr-00096-JRG-CRW Document 546 Filed 10/28/20 Page 1iof9 PagelD #: 1834
the defendant’s guilty plea. They do not necessarily constitute all of the facts in the case. Other
facts may be relevant to sentencing. Both the defendant and the United States retain the right to
present additional facts to the Court to ensure a fair and appropriate sentence in this case.

a) Beginning in June, 2018, agents with the Drug Enforcement Administration (DEA)
and Johnson City Police Department began investigating the trafficking of methamphetamine within
the Eastern District of Tennessee and elsewhere. During the course of the investigation, the agents
discovered a conspiracy to distribute methamphetamine involving the defendant and others.

b) On March 6, 2018, an individual was interviewed by agents at the Sullivan County,
Tennessee Jail. The individual informed the agents that the defendant, as well as other
coconspirators in the instant case were involved in the distribution of methamphetamine.

c) On September 14, 2018, an individual was arrested in Johnson City, Tennessee in
possession of over two ounces of methamphetamine. The individual agreed to cooperate with
authorities. The individual informed agents that he obtained his methamphetamine from a
coconspirator in the instant case from Georgia. He further stated that the defendant obtained
methamphetamine from a coconspirator and distributed it within the region. The individual
positively identified a photograph of the defendant.

d) On October 4, 2018, another individual was interviewed in Abingdon, Virginia. This
individual informed agents that the defendant and her father were distributing methamphetamine
that had been obtained from Georgia.

e) On January 9, 2019, a search warrant was executed in Bristol, Virginia at the home
of a codefendant, As officers attempted to enter the residence, the codefendant was able to flush
what officers estimated to be approximately two kilograms of methamphetamine. The defendant

was in the residence at the time of the execution of the search warrant.

2

Case 2:19-cr-00096-JRG-CRW Document 546 Filed 10/28/20 Page 20f9 PagelD #: 1835

 
f) On March 28, 2019, another codefendant was arrested in possession of
approximately two kilograms of methamphetamine. The codefendant cooperated and informed the
agents that she had been instructed to deliver one of the kilograms of methamphetamine to the
defendant upon her return to Virginia.

g) This same codefendant allowed agents to search her phone messages. Within the
codefendant’s cell phone were numerous text messages between the codefendant and the defendant
in which they discussed attempting to locate a cheaper source of supply of methamphetamine.

h) The defendant now admits to participating in the conspiracy with others both known
and unknown to the Grand Jury to distribute methamphetamine in the Eastern District of Tennessee.

i) For the purpose of this plea agreement, the parties agree that the defendant should be
held responsible for at least 500 grams and up to 1.5 kilograms of actual methamphetamine.

j) For the purpose of this plea agreement, the parties agree that an enhancement under
§ 3B1.1 should not be applied to this defendant.

5. The defendant is pleading guilty because the defendant is in fact guilty.

The defendant understands that, by pleading guilty, the defendant is giving up several rights,
including:

a) the right to plead not guilty;

b) the right to a speedy and public trial by jury;

c) the right to assistance of counsel at trial;

d) the right to be presumed innocent and to have the burden of proof placed on
the United States to prove the defendant guilty beyond a reasonable doubt;

e) the right to confront and cross-examine witnesses against the defendant;

3

Case 2:19-cr-00096-JRG-CRW Document 546 Filed 10/28/20 Page 3o0f9 PagelD #: 1836

 
fp the right to testify on one’s own behalf, to present evidence in opposition to
the charges, and to compel the attendance of witnesses; and

g) the right not to testify and to have that choice not used against the defendant.

6. The parties agree that the appropriate disposition of this case would be the following

as to each count:

a) The Court may impose any lawful term(s) of imprisonment, any lawful
fine(s), and any lawful term(s) of supervised release up to the statutory maximum(s);

b) The Court will impose special assessment fees as required by law; and

Cc) The Court may order forfeiture as applicable and restitution as appropriate.
No promises have been made by any representative of the United States to the defendant as to what
the sentence will be in this case. Any estimates or predictions made to the defendant by defense
counsel or any other person regarding any potential sentence in this case are not binding on the
Court, and may not be used as a basis to rescind this plea agreement or withdraw the defendant’s
guilty plea(s). The defendant understands that the sentence in this case will be determined by the
Court after it receives the presentence investigation report from the United States Probation Office
and any information presented by the parties. The defendant acknowledges that the sentencing
determination will be based upon the entire scope of the defendant’s criminal conduct, the
defendant’s criminal history, and pursuant to other factors and guidelines as set forth in the
Sentencing Guidelines and the factors set forth in 18 U.S.C. § 3553.

7. Given the defendant’s agreement to plead guilty, the United States will not oppose a

two-level reduction for acceptance of responsibility under the provisions of Section 3E1.1(a) of the
Sentencing Guidelines. Further, if the defendant’s offense level is 16 or greater, and the defendant

is awarded the two-level reduction pursuant to Section 3E1.1(a), the United States agrees to move,

Case 2:19-cr-00096-JRG-CRW Document 546 Filed 10/28/20 Page 4of9 PagelD #: 1837

 
at or before the time of sentencing, the Court to decrease the offense level by one additional level
pursuant to Section 3E1.1(b) of the Sentencing Guidelines. Should the defendant engage in any
conduct or make any statements that are inconsistent with accepting responsibility for the
defendant’s offense(s), including violations of conditions of release or the commission of any
additional offense(s) prior to sentencing, the United States will be free to decline to make such
motion, to withdraw that motion if already made, and to recommend to the Court that the defendant
not receive any reduction for acceptance of responsibility under Section 3E1.1 of the Sentencing
Guidelines.

8. The defendant agrees to pay the special assessment in this case prior to sentencing.

9. Financial Obligations. The defendant agrees to pay all fines and restitution imposed
by the Court to the Clerk of Court. The defendant also agrees that the full fine and/or restitution
amount(s) shall be considered due and payable immediately. If the defendant cannot pay the full
amount immediately and is placed in custody or under the supervision of the Probation Office at any
time, the defendant agrees that the Bureau of Prisons and the Probation Office will have the
authority to establish payment schedules to ensure payment of the fine and/or restitution. The
defendant further agrees to cooperate fully in efforts to collect any financial obligation imposed by
the Court by set-off of federal payments, execution on non-exempt property, and any other means
the United States deems appropriate. The defendant and counsel also agree that the defendant may
be contacted post-judgment regarding the collection of any financial obligation imposed by the
Court without notifying the defendant’s counsel and outside the presence of the defendant’s counsel.
In order to facilitate the collection of financial obligations to be imposed with this prosecution, the
defendant agrees to disclose fully all assets in which the defendant has any interest or over which

the defendant exercises control, directly or indirectly, including those held by a spouse, nominee, or

5

Case 2:19-cr-00096-JRG-CRW Document 546 Filed 10/28/20 Page 5of9 PagelD #: 1838

 
other third party. In furtherance of this agreement, the defendant additionally agrees to the
following specific terms and conditions:

a) If so requested by the United States, the defendant will promptly submit a
completed financial statement to the U.S. Attorney’s Office, in a form it provides and as it directs.
The defendant promises that such financial statement and disclosures will be complete, accurate,
and truthful.

b) The defendant expressly authorizes the U.S. Attorney’s Office to obtain a
credit report on the defendant in order to evaluate the defendant’s ability to satisfy any financial
obligation imposed by the Court.

c) If so requested by the United States, the defendant will promptly execute
authorizations on forms provided by the U.S. Attorney’s Office to permit the U.S. Attorney’s Office
to obtain financial and tax records of the defendant.

10. The defendant acknowledges that the principal benefits to the United States of a plea
agreement include the conservation of limited government resources and bringing a certain end to
the case. Accordingly, in consideration of the concessions made by the United States in this
agreement and as a further demonstration of the defendant’s acceptance of responsibility for the
offense(s) committed, the defendant voluntarily, knowingly, and intentionally agrees to the
following:

a) The defendant will not file a direct appeal of the defendant’s conviction(s) or
sentence with one exception: The defendant retains the right to appeal a sentence imposed above
the sentencing guideline range determined by the Court or above any mandatory minimum sentence

deemed applicable by the Court, whichever is greater. The defendant also waives the right to appeal

6

Case 2:19-cr-00096-JRG-CRW Document 546 Filed 10/28/20 Page 6of9 PagelD #: 1839

 
the Court’s determination as to whether the defendant’s sentence will be consecutive or partially
concurrent to any other sentence.

b) The defendant will not file any motions or pleadings pursuant to 28 U.S.C.
§ 2255 or otherwise collaterally attack the defendant’s conviction(s) or sentence, with two
exceptions: The defendant retains the right to file a § 2255 motion as to (i) prosecutorial
misconduct and (ii) ineffective assistance of counsel.

c) The defendant will not, whether directly or by a representative, request or
receive from any department or agency of the United States any records pertaining to the
investigation or prosecution of this case, including, without limitation, any records that may be
sought under the Freedom of Information Act, 5 U.S.C, Section 552, or the Privacy Act of 1974,
5 U.S.C. Section 552a.

11. This plea agreement becomes effective once it is signed by the parties and is not
contingent on the defendant’s entry of a guilty plea. If the United States violates the terms of this
plea agreement, the defendant will have the right to withdraw from this agreement. If the defendant
violates the terms of this plea agreement in any way (including but not limited to failing to enter
guilty plea(s) as agreed herein, moving to withdraw guilty plea(s) after entry, or by violating any
court order or any local, state or federal law pending the resolution of this case), then the United
States will have the right to void any or all parts of the agreement and may also enforce whatever
parts of the agreement it chooses. In addition, the United States may prosecute the defendant for
any and all federal crimes that the defendant committed related to this case, including any charges
that were dismissed and any other charges which the United States agreed not to pursue. The
defendant expressly waives any statute of limitations defense and any constitutional or speedy trial

or double jeopardy defense to such a prosecution. The defendant also understands that a violation of

7

Case 2:19-cr-00096-JRG-CRW Document 546 Filed 10/28/20 Page 7 of9 PagelD #: 1840
this plea agreement by the defendant does not entitle the defendant to withdraw the defendant’s
guilty plea(s) in this case.

12. The United States will file a supplement in this case, as required in every case by the
Local Rules of the United States District Court for the Eastern District of Tennessee, even though
there may or may not be any additional terms. If additional terms are included in the supplement,
they are hereby fully incorporated herein.

13. This plea agreement and supplement constitute the full and complete agreement and
understanding between the parties concerning the defendant’s guilty plea to the above-referenced
charge(s), and there are no other agreements, promises, undertakings, or understandings between the
defendant and the United States. The parties understand and agree that the terms of this plea
agreement can be modified only in writing signed by all of the parties and that any and all other
promises, representations, and statements whether made before, contemporaneous with, or after this

agreement, are null and void.

8

Case 2:19-cr-00096-JRG-CRW Document 546 Filed 10/28/20 Page 8o0f9 PagelD #: 1841

 
J. DOUGLAS OVERBEY

 

 

UNITED STATES ATTORNEY
fo/z8 dA: 2029 By: Tr
Date THOMAS AZMCCAULEY

Assistant United States Attorney

jo/e¢ /eore TUE foe Ecle Suaken
Date EMILY M2SWECKER .
Assistant United States Attorney

10-94-2038 AL Sethe 7

 

 

Date AUREN KATE SMITH
Defendant

{O° 2? BOI’ ge Ae

Date SCOTT SAIDAK
Attorney for the Defendant

9

Case 2:19-cr-00096-JRG-CRW Document 546 Filed 10/28/20 Page 9of9 PagelD #: 1842
